Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 1 of 32



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 17-CV-24444-UU

  CENTER FOR BIOLOGICAL DIVERSITY;
  TROPICAL AUDUBON SOCIETY; MIAMI PINE
  ROCKLANDS COALITION; and SOUTH
  FLORIDA WILDLANDS ASSOCIATION,

          Plaintiffs,

  vs.

  RYAN ZINKE, in his official capacity as Secretary
  of the U.S. Department of Interior; U.S.
  DEPARTMENT OF THE INTERIOR; U.S. FISH
  AND WILDLIFE SERVICE; GREG SHEEHAN, in
  his official capacity as Principal Deputy Director of
  the U.S. Fish and Wildlife Service; and JIM
  KURTH, in his official capacity as Deputy Director
  for Operations and Acting Director of U.S. Fish and
  Wildlife Service.

          Defendants.
                                                      /


          NOTICE OF FILING DECLARATIONS IN SUPPORT OF INTERVENOR-
         PERMITEES’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
        TEMPORARY RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION

          Please take notice that Intervenor-Permittees, Coral Reef Retail, LLC, Coral Reef RESI

  PH 1, LLC, and RAMDEV LLC, hereby give notice of filing the following declarations in

  support of their response in opposition to Plaintiffs’ motion for temporary restraining order

  and/or preliminary injunction:

          1.      Declaration of Elizabeth Meeks, dated January 3, 2018.

          2.      Declaration of Kerry-Ann Wilson, dated January 3, 2018.

          3.      Declaration of Churchill Lee Roberts IV, dated January 3, 2018.
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 2 of 32



                                           GUNSTER
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                                           By: /s/ Jonathan H Kaskel
                                                   Jonathan H Kaskel FBN: 52718




                                       2
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 3 of 32



                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 3, 2018, the foregoing was filed using the Court’s

  CM/ECF system and served via email or transmission of Notices of Electronic Filing generated

  by CM/ECF to all counsel by the Court’s CM/ECF system.

                                                     By: /s/ Jonathan H Kaskel
                                                            .

                                         SERVICE LIST

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                                               3
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 4 of 32




                 Declaration 1
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 5 of 32



                                  Declaration of Elizabeth Meeks

  I, Elizabeth Meeks, hereby declare as follows:

     1.    The facts set forth in this declaration are based on my personal knowledge and
           experience. If called as a witness, I could and would testify competently to these facts.

     2.    I am a design associate at Kimley-Horn, a national planning and engineering firm
           engaged by Permittees, Coral Reef Retail LLC, Coral Reef RESI PH 1 LLC and
           RAMDEV LLC in connection with the development of Coral Reef Commons.

     3.    Kimley-Horn prepared the boundaries and shaded regions in the attached and maps and
           aerial photographs using a digital design program called AutoCAD and a photograph
           editing tool called Photoshop. The use of these computer programs is common and
           accepted in my profession.

     4.    The shaded regions and descriptions in the first attached image fairly and accurate
           depict the locations and areas identified therein during the permitting process.

     5.    The yellow and green boundaries in the second attached image were prepared using a
           survey of the Coral Reef Commons property prepared by the well-established South
           Florida land planning and surveying firm Schwebke Shiskin. The green lines fairly and
           accurately depict the preserve areas for the Coral Reef Commons project. The yellow
           lines fairly and accurately depict the border of the on-site property for the Coral Reef
           Commons project.

          I declare under penalty of perjury that the foregoing is true and correct and was executed

  on January 3, 2018, in Indian River County, Florida.



                                               /s/       Elizabeth Meeks




                                                     1
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 6 of 32




                                                                                   3
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 7 of 32




                                                                                   6
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 8 of 32




                 Declaration 2
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 9 of 32



                                 Declaration of Kerry-Ann Wilson

  I, Kerry-Ann Wilson, hereby declare as follows:

     1.    The facts set forth in this declaration are based on my personal knowledge and
           experience. If called as a witness, I could and would testify competently to these facts.

     2.    I work for Ram Realty Advisors as Director of Development and worked on behalf of
           the Permittees, Coral Reef Retail LLC, Coral Reef RESI PH 1 LLC and RAMDEV
           LLC in pursuing the Incidental Take Permit from the U.S. Fish and Wildlife Service.
           As a result of my work, I am very familiar with the Coral Reef Commons Property.

     3.    The first attached photograph and map fairly and accurately depicts the conditions and
           state of the Coral Reef Commons Property during the permitting process.

     4.    The second attached photograph fairly and accurately depicts the current conditions and
           state of the Coral Reef Commons property. The boundaries and shading in the second
           attached image were created by Kimley-Horn, a national planning and engineering
           firm.

     5.    The third image is an rendering of the future preserves on the Coral Reef Commons
           property. The site plan overlaying the rendering in the third attached image fairly and
           accurately depicts the site plan for the Coral Reef Commons Project.

          I declare under penalty of perjury that the foregoing is true and correct and was executed

  on January 3, 2018, in Miami-Dade County, Florida.



                                               /s/       Kerry-Ann Wilson




                                                     1
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 10 of 32




                                                                                    2
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 11 of 32




                                                                                    6
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 12 of 32




                                                                                    7
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 13 of 32




                  Declaration 3
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 14 of 32
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 15 of 32




                                                                                    4
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 16 of 32




                                                                                    5
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 17 of 32




                                                                                    11
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 18 of 32




                                                                                    12
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 19 of 32




                                                                                    13
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 20 of 32




                                                                                    14
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 21 of 32




                                                                                    15
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 22 of 32




                                                                                    16
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 23 of 32




                                                                                    17
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 24 of 32




                                                                                    18
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 25 of 32




                                                                                    19
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 26 of 32




                                                                                    20
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 27 of 32




                                                                                    21
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 28 of 32




                                                                                    22
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 29 of 32




                                                                                    23
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 30 of 32




                                                                                    24
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 31 of 32




                                                                                    25
Case 1:17-cv-24444-UU Document 68 Entered on FLSD Docket 01/03/2018 Page 32 of 32




                                                                                    26
